   Case 8:18-cv-00966-JVS-E Document 63 Filed 03/26/19 Page 1 of 22 Page ID #:681



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   FILL ADDRESS IVCLL"DfVG N.~.~fE OF INSTiTI.TiON                                                      ~           -_--_.~             J
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    C~' Uj~~
   PRISON ~UtiBER Ijf applicable)




                                                  UNITED STATES DISTRICT COURT
                                                 CE1~ITRAL DISTRICT OF CALIFORI~IIA
                                                                               CASE NUMBER
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                                          ~~                                             CIVIL RIGHTS COMPLAIYT
                                                                                            PURSUAIIT TO iChecko~e~
    J~,rePh             ~ ~~►L k~/~t~J~
                                                                               ~ 42 U.S.C. § 1983
                                                        DEFENDA'~T(S).         ~ Bivens v. Sir Unknown Agents 403 U.S. 388 (1971)


 A. PREVIOUS LA~~SUITS

            Have you brought any other lawsuits in a federal court while a prisoner: ~ Yes                   ❑ No

      2. [f your answer to "1." is yes, how many?

            Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an
            attached piece of paper using the same outline.)

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CV -66 (7%971                                                                                                                         P~gt I ot'6
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               a. Parties to this previous lawsuit:
                  Plaintiff Phi!!;~ dZ OJ~L-~blum


                  Defendants ~tiCl ~s7dP,/~.r Go~,rn /-y~, Loci ~n~ostem~~'!-f


               b. Court _~/,tech ,.Tto~/Ps ~~.f'~r~c~ Gourt, ~~nfra/ Dr.~~r%4-~" Df td/i I~t~i"n.D


           c. Docket or case number ~;~ 7 - Cv r 0,~~~'9~ 7~".l!E~
           d. Name ofjudge to whom case was assigned ~;.1'~`r~Cf Cc~~~ T~d.~e, f~Jn~~/~~t E,c~r
           e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
                 appealed? Is it still pending?) QiIh7iJJt'-~ U.r t~QJu,.J'~G~~a~/~or~ceFu/ a/~,~{potc~,.~
           f. Issues raised: L~Ovcairlmz~~f D/~~t~i~i"L~r~ f~a/k~.7rt /~arl~~~ ~d s/a~~v"e.-;
                   %7 o r/oJ'Jmv~i    o~3~   v,0/'.~~~



           g. Approximate date of filing lawsuit:     /day, X0/7
           h. Approximate date of disposition .I~ef'f~       ~~'/7


 B. EXHAUSTIOY OF ADM[Y[STRATIVE REi~1ED[ES

      1. [s there a grievance procedure available at the institution where the events relating to your current complaint
         occurred? ~ Yes ❑ No

     2. Have you ti led a grievance concerning the facts relating to your current complaint? ~ Yes                 ❑ No

          [f your answer is no, explain why not ~1"e~      ~x t~ ou✓'~~o~3 Of ~~in r~~,1`~rQ-f.~ ~ ~~+~~.~'
               ~~fG i~JJr dfa    •~    Ec~rn~/Q.n~



     3. [s the grievance procedure completed? ~ Yes           ❑ No

         [f your answer is no, explain why not J~~? ~~hou',J'1-ir':~ ~I~ f~~mr~o..J"~'r~1~~f~'~ ~~r~~%rte



     4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION

     This complaint alleges that the civil rights of plaintiff P%►, /~~~' ,~ I~,.T,P/Ibl um
                                                                                         (print plainut~'s name)

     who presently resides at LL~r~l~rvi~ .~~atr?- ,y"s';J~n, ~ 0. ~Dx 3`~~v(; ~.o r~n /'A~1 Cf~. 9:3~/J                           ,
                                                             (maiTmg a   ress or p ace of conhnemrnt)

     were violated by the actions of the defendants) named below, which actions were directed against plaintiff at

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                                                    C11'IL RIGHTS COJIPL.~I\T
CV-66 (7i97~                                                                                                              P~gz 2 of6
   Case 8:18-cv-00966-JVS-E Document 63 Filed 03/26/19 Page 3 of 22 Page ID #:683




       on (date or dates) 1t'~e ~~~~~                      r~ / „~~
                                             ( aim )                       (dim [T)                         ( aim       )

       NOTE:           You need not name more than one defendant or alleje more than one claim. If you are naming more than
                       five (~) detiendants, make a copy of this page to provide the information for additional defendants.

       L Defendant TG► ,era                  OCR ~I                                                                  resides or works at
                           ~tu n:une offirst eten ant)

                           _i"~ ~ CCvrr~v Jv; /. SSo !1i F/n~~r 1-~. .fo~~ta l~n~ Ci~~ 9,~7a.~
          LDU1~~'          (full address of first deFendan~)

               ~~`           ~l~,~,~'v~v .~h~~'~ ~F
                              ten ant' position~an tiTit any)


           The defendant is sued in his/her (Check one or both): ~} individual                ❑official capacity.

           Explain how this defendant was acting under color of law:
                                         i          ~                                     ~               i.



      2. Defendant ~c~hh ~o~ ~~                                                                                     resides or works at
                       (tu—ITname off~rs~t eten ant)

               C~v~f     ~1/a~►v_ Gaunt                  5d,~, Sso N, L,vt.~e-r .r't. .ro~~-p f~.~Q Ca. 9~76.~
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          The defendant is sued in his/her (Check one or both): ~ individual                  ❑ official capacity.

          Explain how this defendant vas acting under color of law:
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     3. Defendant         TDh/I ~~~3                                                                             resides or works at
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          The defendant is sued in his!her (Check one or both): ~ individual                  ❑official capacity.

          Explain how this defendant was acting under color of law:
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CV-66 17'971                                                                                                                       Page 3 of6
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                The defendant is sued in his;her (Check one or both):               individual   ❑official capacity.

                Explain how this defendant was acting under color of law:
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       5. Defendant                J oh/? ~~~ -~ LS                                                                    resides or works at
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            The defendant is sued in his/her(Check one or both): ~ individual                    ❑official capacity.

            Explain how this defendant was acting under color of law:
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                     Case 8:18-cv-00966-JVS-E Document 63 Filed 03/26/19 Page 5 of 22 Page ID #:685



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  Case 8:18-cv-00966-JVS-E Document 63 Filed 03/26/19 Page 7 of 22 Page ID #:687


  D. CLAf~~IS*
                                                                      CLAL~I I
       The following civil right has been violated:
           ~pl~il ~F d/J(~'    O/7J; Cr'~uiJ -~     /"I,vO      (JCS ~h    iJi c^~atZ -fh~? L'.'ah~h /~mC?;~[~rri~..~~ ~,~
       'fy1~-      iC-f    LOf1.f~i~u/"i~'f7           DJ~       ~l~(j/          d/l!~       ~fl~/fuPl/ f✓Uf7..J`,3mr?r7~'

   ~ C~Du'fJ'~' L~/I f'
   '                           V: ACR f~.I        .~7`6~~.      I Gr lv   Q.f~     ~'h ~     6efQAa!!i1 ~J ~i✓OI4Y~6~
      LJ                                   ,~                                     I~   :/
           Gv'~ !lfui /l ~~i~ ~~:           ~~0~~1 n e~ e~G~~~l~~~'-~~z ~~ or~~ mve~~f~ia ~~..fGo~vf~ r'•

           Cou~f t►,ro        V~~iat~.~ .Pfa~e               /o w- Q~f      ~a ~c~F~'~/c~ Jo✓'e~, ,Ef/ac~.r'~/-c.~~                    y~~~~
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           of h,r ar~.~~ s ~~,r~~Y~-~ "'ems, oiF~i r~~~~~~~ `' `~r2y~lJ /I~T~O~s'~CP




     Supporting Facts: Include afl facts you consider important. State the facts clearly, in your o~vn words, and without
     citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
     DEFENDANT(by name) did to violate your ri;ht.
                                                      ~ r~ ~~✓T ~~~%~ - Th ~ s~t ~ ~.~ ~~~h ~_r
           ~'~o ~t~~~ W?~~ i~ hD~.J"P~/ :~n                    fl<"a~,~~     L~u~f~y 70,% i,~iv~- to~or>Ye~ Fri'

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     *If~there is more than one claim, describe the addi~iona! claims) on another attachedpiece ofpnper using the same
     ou~linz.


                                                             CIVIL RIGfITS CO~IPL.~I\T
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  E. REQUEST FOR RELIEF

        believe that I am entitled to the following specitic relief:


               M ~lliO/~     r~D//Oi.J ,~`1   ~L'~r~f['fJ:tOto~~ ~~o~n ~~C.~'

     '/ Mi!/'~~/I             ~O~~oi"r ,n      ~un~ ~~ v ~       r/afr, der




                    ~pQ~eJ                                                    (Signature ofPlaintiff




                                                    C1~'IL RlGfll'S CO:~(PLAI\T
CV-66 (7~97~                                                                                           Page 6 0l6
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     7                Cdr'.                                               nC~        r               ~i -'                           s        -                     h. /+~~.




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          Case 8:18-cv-00966-JVS-E Document 63 Filed 03/26/19 Page 14 of 22 Page ID #:694



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   Case 8:18-cv-00966-JVS-E Document 63 Filed 03/26/19 Page 16 of 22 Page ID #:696

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                                                                                           • Safety &Loss Prevention Program
                                        COUNTY OF ORANGE                                   • Wodce~' Compensation Program
                                                                                             L,iebiliry Claims :Management Progam
                             COUNTY EXECUTIVE OFFICE                                       • Administration &Financial Management
                                                                                           • InsurencdContracts &Commercial Insurance
                                                                                           • ADA Q Public Access Compliance

                                                                                                    Telephone: (714)285-5500
                                   OFFICE OF RISK MANAGEMENT                                             FAX: (714)285-5599


 February 23, 2018

 Phillip Rosenblum (BF-0331)
 CHCF
 PO Box 32110
 Stockton CA 95213

 Re: Claimant: Phillip Rosenblum (BF-0331)
     Date of Loss: 07/04/2017
     Claim Number: 20180016

 Dear Mr. Rosenblum:

 Please be advised that investigation of the above-matter has been completed. Investigation disclosed no negligence
 on behalf of the County of Orange. In view of the facts, we have no recourse but to disclaim any liability on behalf of
 the County of Orange.

 Notice is hereby given that the claim you presented on, on 01/02/18, is rejected by operations of law.

 WARNING:"Subject to certain exceptions, you have only six months from the date this
          notice was personally delivered or deposited in the mail to file a court
         action on this claim. See Government Code, Section 945.6."

You may seek the advice of an attorney of your choice in connection with this matter. If you desire to consult an
attorney, you should do so immediately.

 Sincerely,
    ' ~
 Jg~-N~avarro
 Claims Representative
(714) 285-5516




        600 W. Santa Ana Bivd.. Suite 1 U4, Santa Ana, CA 92701 -- P.O. Box 327 Santa Ana, CA 92702
       Case 8:18-cv-00966-JVS-E Document 63 Filed 03/26/19 Page 17 of 22 Page ID #:697
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                                      DISTRICT ATTORNEY                                                                                         JOSEPH D'AGOSTINO
                                                                                                                                                SENIOR ASSISTANT D.A.
                                                                                                                                                GENERAL FELONIES!
                                      ORANGE COUNTY,CALIFORNIA                                                                                  ECONOMIC CRIMES
                        .,3k
                                                                                                                                                MICHAEL LUBINSKI
                                      TONY RACKAUCKAS                                                                                           SENIOR ASSISTANT D.A.
                                                                                                                                                SPECIAL PROJECTS

                                                                                                                                                dA1ME COULTER
                                                                                                                                                SENIOR ASSISTANT D.A.
                                                                                                                                                BR,4NCHCOURTOPERATIONS

                                                                                                                                                'SCOTT ZIDBECK
                                                                                                                                                 SENIOR ASSISTANTD.A
      October 27, 2017                                                                                                                           VERTICAL PROSECUTIONS/
                                                                                                                                                 VIOLENT CRIMES

                                                                                                                                                JENNY pIAN
                                                                                                                                                DIRECTOR
     Phillip Rosenblum                                                                                                                    . ~   ADMINISTRATIVE SERVICES

     Booking #2996969                                                                                                                           SUSAN KANG SCHROEDER
     Orange County Jail                                                                                                                         CHIEF OF STAFF

     550 N. Flower St
     Santa Ana, CA y2703                                                                                                                                     ., ...
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                                                                                                                                                                 ~"~        ,~ ~+
     Dear Mr. Rosenblum,                                                                                                                                                   ...

    The Orange County District Attorney's Office is receipt of your letters dated September.16, ~20?7
    and September 27, 17. In reviewing your court record ("Vision"), it appears you have been
     provided a private investigator. Please provide the details of yourallegations to him, including
    specific dates and times of the alleged incidents, along with the names of the parties involved., if
    you know them, and any evidence you have in your possession to corroborate your allegations.
    Additionally, if you have reported the incidents to.the Jail Sergeant, please provide your
    investigator with that information, as well. If you' have not made any formal complaints to the Jail
    Sergeant, then you should consider doing so in order to make them aware of your plight. Lastly,
    the grievances alleged with regard to the Jail's failure to follow the Court's orders should be
    addressed in court, afte~f~ing proper notice to the County Counsel

    Sincerely,
                                                                                                                                                                       0
         ecial Pr~s utions it
         ~q~qe Co nt istrict A orney's Office




REPLY T0: ORANGE COUNTY DISTRICT ATTORNEY'S OFFICE                                                                          ~   WEB PAGE: htto:/loranaecountvda.orq/


 ❑D MAIN OFFICE          ❑ NORTH OFFICE           ❑ WEST OFFICE            ❑HARBOR OFFICE             ❑JUVENILE OFFICE           ❑ CENTR4L OFFICE
401 CIVIC CENTER DR W    1275 N. BERKELEY AVE.   8741 15'" STREET         4801 JAMBOREE RD.          341 CITY DRIVE SOUTH       401 CIVIC CENTER DR. W
P.O. BOX 80B             FULLERTON, CA 92832      WESTMINSTER, CA 82683    NEWPORT BEACH, CA 82680   ORANGE, CA B288B           P,O. BOX 808
 SANTA ANA, CA 92701    (714) 7734480            (714)8867281             (B4B)47&4850               (714)835-7824              SANTA ANA. CA 92701
(714)834-3800                                                                                                                   (714)834-3852
            Case ~8:18-cv-00966-JVS-E Document
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                                               SHERIFF DEPARTMENT                          Facility: Central Men's .rail
                    W'''                         ORANGE COUNTY
                                              SANTA ANA, CALIFORNIA

   SANDRA HUTCHENS,SHERIFF-CORONER                                        RECEIPT OF INMATE /DETAINEE GRIEVANCE


                                      RECEIPT OF INMATE /DETAINEE GRIEVANCE

    I nmate's Name             ROSENBLUM, PHILLIP               Booking Number                2996969

   Housing Location            MJ DI DI 03                      Date Grievance Received       08/16/2017

   Date /Time of Incident      07/04/2017 09:45 AM              Location of Incident          Dis-Iso

   Your Grievance has been assigned to Sergeant        Arredondo

                                                 SYNOPSIS OF GRIEVANCE FILED


    On July 4, 2017, Rosenblum was involved in 2 fights. He is claiming deputies slammed his head against the wall and hit
    him on the side of his body when being escorted down from the top tier.




   THIS NOTICE SERVES ONLY TO DOCUMENT RECEIPT OF THE ABOVE GRIEVANCE. IT DOES NOT CONTAIN
   ANY STAFF RESPONSE OR RESOLUTION TO THE GRIEVANCE YOU HAVE FILED. STAFF INVESTIGATIONS
   INTO YOUR GRIEVANCE SHALL BE COMPLETED IN A REASONABLE TiiVIE. REASONABLENESS WILL BE
   BASED ON THE TYPE ANA ~^.`.ZPc OF THE GRIEVANCE SUBMITTED. YOU WILL RECEIVE A WRITTEN
   ~c~SPONSE UPON RESOLUTION OF THIS GRIEVANCE.

   PER PBNDS, ALL GRIEVANCES FILED BY AN I.C.E. DETAINEE MUST BE ACTED ON WITHIN FIVE (5) WORKING
   DAYS OF RECEIPT.




J191 (Rev. 02/11)                         INMATE /DETAINEE COPY
            Case 8:18-cv-00966-JVS-E Document 63b, t'
                   ~                     ~X~~ Filed    03/26/19 Page 19 of 22 Page ID #:699
                                                      ~~
               5t~~,R'F.~              SHERIFF DEPARTMENT             Facility: Central Men's Jail
                  ~~                     ORANGE COUNTY                ~z~ M709oSl'7~► 3zo
                                     SANTA ANA, CALIFORNIA
                                          x,
    S ANDRA HUTCHENS,SHERIFF-CORONER                                                                           RESPONSE TO GRIEVANCE APPEAL


                                                        RESPONSE`TO GRIEVANCE APPEAL

    Inmate's Name               ROSENBLUM. PHILLIP                                 Booking Number                 2996969

    Housing Location            MJ DI DI 03                                        Date Appeal Received           11 /20/2017

    Date /Time of Incident      08/28/2017 06:00 AM                                Location of Incident

    Your Grievance has been assigned to Lieutenant          Gardner


                                                              SYNOPSIS OF GRIEVANCE APPEAL
i
     The initial complaint by inmate Rosenblum was that Deputy Blacskton allowed him to be assaulted by another inmate. The supplemental
                                                                                                                                           complaint
     received October 1, 2017 made the same allegation with the addition that Rosenblum felt he was being slandered and harassed by
                                                                                                                                    other inmates in
     his housing location.




                                                        STAFF RESPONSE TO GRIEVANCE APPEAL                                      i

    On August 28, 2017 at about 0610 hours, inmate Rosenblum was involved in a fight with another inmate, then refused to comply with deputies orders
    to stop fighting, which required the deputies to use force on the inmates to stop the fight and restore order. A review of the use of force was
    conducted and the amount of force used was found to be reasonable, necessary, and within department policy.

    In this complaint inmate Rosenblum is accusing jail staff of an "institutional cover-up", that he was assaulted at the direction of jail staff, and then
    denied medical treatment after the incident. Additionally, he is complaining that other inmates are slandering his name and harassing him. After
    reviewing all the reports and video recordings, and performing a management review of this incident, I feel Rosenblum's first complaint is completely
    unsubstantiated. I also found his second complaint to be vague, speculative, and without merit. I recommend no further action be taken regarding
    this grievance other than a notice of disposition being provided to inmate Rosenblum.




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J194 (Rev. 02/11)                                    INMATE /DETAINEE COPY
        Case 8:18-cv-00966-JVS-E
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